             Case 4:01-cv-00272-WTM Document
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                                             18 Filed 09/26/02 Page 1 of 3
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                                                                      FLED
                                                     `IS _p{STRlC7 COURT
              IN THE UNITED STATES DISTRICT COURT FOR- ~!t}tkT A t!NAH 0114-
                      SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION 2a) SEP 26 PM, 4 : S
                                                                2
LAURIE ABBOTT , FRED WILLIAMS
and FRED W ILLIAM S HOMEBUILDERS ,
INC .,

             P laintiffs ,

      vs .                                 Civil A ction No .       CV401-272

THE CIT Y O F POOLER , GA , EARL L
CARTER , WAYNE D . SEAY , TRAVIS
COWART , JR ., J . ROBE R T BRYAN ,
BILLIE L . TYLE R, SONNY
DEFILIPPIS , and STEV E E .
WALL , JR .,

             Defendants .

                         MODIFIED SCHEDULING ORDER

     Pursuant to Federal Rules of Civil Procedure 16(b) and the
Local Rules of this Court, this Court imposes the following
deadlines in the above styled case :

DATE ISSUES JOINED                                          03-12-02

DATE OF RULE 26(f)      CONFERENCE                          04-01-02

LAST D AY F O R F ILING MOTIO N S TO AME N D
o r ADD PARTIE S [60 da y s afte r issue joined]            05-11-02

LAST DAY TO FURN ISH EX PER T W IT N ES S RE PO R T
BY PL A I N TI F F                                          05 - 31 - 02

LAST D AY TO FU RNISH E X PERT W ITNESS R EPORT
BY DEFENDA N T                                              06-30-02

JOINT ST A TUS REP O R T DUE                                06-10-02

CLOS E O F F A C T DISCOVER Y                             -4         6 PI-9- 00010er z g~ .200 1.

CLOS E O F EXPERT W I TN ESS DISCOVE R Y                    09-28-02

LAST DAY FOR FILING CIVIL MOTIONS
EXCLUDING MOTIONS IN LIMINE                                 12-26-02
[30 DAYS AFTER CLOSE OF DISCOVERY]




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         Case 4:01-cv-00272-WTM Document 18 Filed 09/26/02 Page 2 of 3


Motions in limine shall be filed no later than 5 days prior to the
pre-trial conference .

All motions, other than summary judgment motions and motions t o
dismiss, shall be accompanied with a prop o sed o rder .


     SO ORDERED this   as11   day of September, 2002 .




                                 UN
                                  TI E      ATEr S MAGISTRATE JUDGE
                                 SOU T HERN DISTRICT OF GEORGIA
         Case 4:01-cv-00272-WTM Document 18 Filed 09/26/02 Page 3 of 3
                       UNITED STATES DISTRICT COURT
                       Southern District of Georgia



         Case Number :       4 :01-cv-00272
         Date Served :       September 27, 20 0 2
         Served By :         Shirley S . Lee

Attorneys Serv e d :

         Deron R . Hicks, Esq .
         Patrick T . O'Connor, Esq .




                                                    //Copy placed in Minutes

                                                       Copy given to Judge

                                                       Copy given to Magistrate
